






		NO. 12-02-00355-CR



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT


		

TYLER, TEXAS


		


ALEXANDRO CAMACHO,§
	APPEAL FROM THE 114TH

APPELLANT


V.§
	JUDICIAL DISTRICT COURT OF


THE STATE OF TEXAS,

APPELLEE§
	SMITH COUNTY, TEXAS






MEMORANDUM OPINION


	Appellant Alexandro Camacho pleaded guilty to burglary of a habitation.  The trial court
assessed his punishment at ten years in prison, a $5,000.00 fine, restitution and court costs. 
Appellant subsequently filed a notice of appeal.  We affirm.

	Appellant's counsel, in compliance with Anders v. California, 386 U.S. 738 (1967) and
Gainous v. State, 436 S.W.2d 137 (Tex. Crim. App. 1969), states that he has diligently reviewed the
appellate record and is of the opinion that the record reflects no reversible error and there is no error
upon which an appeal can be predicated.  He further relates that he is well acquainted with the facts
in this case.  In compliance with Anders, Gainous, and High v. State, 573 S.W.2d 807 (Tex. Crim.
App. 1978), Appellant's brief presents a chronological summation of the procedural history of the
case, and further states that Appellant's counsel is unable to present any arguable points of error. (1) 
We have likewise reviewed the record for reversible error and have found none.  



	As required by Stafford v. State, 813 S.W.2d 503 (Tex. Crim. App. 1991), Appellant's
counsel has moved for leave to withdraw.  We carried the motion for consideration with the merits
of the appeal.  Having done so and finding no reversible error, Appellant's counsel's motion for
leave to withdraw is hereby granted and the judgment of the trial court is affirmed. 



								     JAMES T. WORTHEN    

									     Chief Justice



Opinion delivered August 6, 2003.

Panel consisted of Worthen, C.J. , Griffith, J., and DeVasto, J.














(DO NOT PUBLISH)












1.  Counsel for Appellant provided Appellant with a copy of his brief and Appellant was given time to file his
own brief in this cause.  The time for filing such a brief has expired and we have received no pro se brief.

